IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
COLUMBIA DIVISION
JACK L. SISK and ELIZABETH M.
SISK,

Plaintiffs,
CASE NO. 1:10cv6

VS.

HI-TECH AMERICA DEVELOPMENT

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)
§
) JUDGE HAYNES
)
(HAD) 111 CoRPoRATIoN, er al )
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)

Defendants.

ORDER OF DISMISSAL

COMES NOW JACK L. SISK and ELIZABETH M. SISK, the above named Plaintiffs,
through counsel, and request that this Honorable Court dismiss this action against all of the
Defendants With prejudice and any unpaid court costs being taxed to the Plaintiff. The parties Will
bear their own attorney’s fees and discretionary costs.

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this action against
all of the Defendants, namely HI-TECH AMERICA DEVELOPMENT (HAD) III
CORPORATION, HI~TECH AMERICA DEVELOPMENT (HAD) V CORPORATION,
GLOBAL DISTRIBUTION GROUP, INC., the PERSONAL REPRESENTATIVE for the
ESTATE OF KENNETH FRANKLIN, SR. that has been substituted for Decedent KENNETH
FRANKLIN, SR., KENNETH FRANKLIN, JR., RONALD KONITZER and KENNETH
FH\IKELSTEIN is dismissed With prejudice, that the court costs be taxed to the Plaintiffs and that
the parties Will bear their own attorney’s fees and discretionary costs.

lt is so ()RDERED. g{/

ENTERED this the i’/day of July, 201 l.

 

WILLIAM 1. HAYNE§_,)R, g QUQ
United States District Judge

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